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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION

This document relates to:

       County of Lake, Ohio v. Purdue
       Pharma L.P., et al.,                           MDL No. 2804
         Case No. 18-op-45032 (N.D. Ohio)             Case No. 17-md-2804
                                                      Judge Dan Aaron Polster
       County of Trumbull, Ohio v. Purdue
        Pharma, L.P., et al.,
         Case No. 18-op-45079 (N.D. Ohio)

 “Track 3 Cases”


                                     NOTICE OF APPEAL

         Defendant Walmart Inc. hereby appeals to the United States Court of Appeals for the
 Sixth Circuit from the final judgment entered on August 22, 2022 (Dkt. 4614), as well as all
 orders leading to that judgment.

        DATED: September 7, 2022

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                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that the foregoing document was served via email on all

counsel of record on September 7, 2022.

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